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                        Exhibit 1

                       Stipulation
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                         IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT DELAWARE


                                                                          )
    In re:                                                                )     Chapter 11
                                                                          )
    YELLOW CORPORATION, et al. 1                                          )
                                                                                Case No. 23-11069 (CTG)
                                                                          )
                                                                          )
                             Debtors.                                     )     (Jointly Administered)
                                                                          )

                           JOINT STIPULATION
                     BY AND AMONG THE DEBTORS AND
            PACCAR FINANCIAL CORP. (I) GRANTING RELIEF FROM
     THE AUTOMATIC STAY AND (II) REJECTING CERTAIN LEASE AGREEMENTS

             This joint stipulation (“Stipulation”) is made and entered into by and among (a) YRC

Enterprise Services Inc. and the other debtors in possession in the above-captioned chapter 11

cases (the “Debtors”) 2, and (b) PACCAR Financial Corp. (“PACCAR” and together with the

Debtors, the “Parties”). The Parties hereby stipulate and agree as follows:

                                                    RECITALS

             WHEREAS, on August 6, 2023 (the “Petition Date”), each of the Debtors filed voluntary

petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

in the United States Bankruptcy Court for the District of Delaware (the “Court”). The Debtors’

chapter 11 cases are being jointly administered for procedural purposes. The Debtors are managing




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place
      of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2     A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
      the Debtors’ chapter 11 cases, is set forth in the Declaration of Matthew A. Doheny, Chief Restructuring Officer
      of Yellow Corporation, in Support of the Debtors’ Chapter 11 Petitions and First Day Motions [Docket No. 14]
      (the “First Day Declaration”).

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their businesses and their properties as debtors in possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code;

       WHEREAS, Debtor YRC Enterprise Services, Inc. as lessee and PACCAR as lessor

entered into a master lease agreement, dated June 29, 2018 (the “Master Lease”), and thereafter in

connection therewith, PACCAR and Debtors USF Holland LLC, New Penn Motor Express LLC,

and USF Reddaway Inc. entered into 49 schedules, collectively, with various commencement dates

(collectively, the “Lease Schedules”, and, together with the Master Lease, the “Lease Agreement”)

for lease of 322 vehicles from PACCAR (the “Equipment”). A copy of the Master Lease, as well

as a listing of the Equipment, is attached hereto as Schedule A.

       WHEREAS, certain of the aforementioned Lease Schedules have already matured and

certain other Lease Schedules will be maturing in the coming weeks and months;

       WHEREAS, the Debtors have notified PACCAR that the Debtors do not intend to assume

or assign the Lease Agreement in connection with the Debtors’ chapter 11 cases;

       WHEREAS, PACCAR has indicated to the Debtors its desire to retrieve and take

possession of and dispose of the Equipment;

       WHEREAS, the Debtors have determined that it is in the best interests of their estates and

creditors to permit PACCAR to retrieve and take possession of the Equipment, effective as of the

date of entry of an Order of this Court approving this Stipulation;

       WHEREAS, the Debtors have determined that it is in the best interests of their estates and

creditors to reject the Master Lease and Lease Schedules, effective as of the date of entry of an

Order of this Court approving this Stipulation, to the extent necessary;

       WHEREAS, PACCAR has agreed to such rejections, to the extent necessary; and

       WHEREAS, the Debtors consent to lift the automatic stay imposed by section 362 of the

Bankruptcy Code on the terms and conditions set forth in this Stipulation for the exclusive

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purposes of allowing PACCAR to retrieve and take possession of the Equipment, to dispose of the

Equipment, and, to the extent required by the Lease Agreement or applicable law, to apply the

proceeds of said disposition to Debtors’ indebtedness under the Lease Agreement, all without

further notice or order of the Court.

        THEREFORE, IT IS HEREBY STIPULATED AND AGREED, AND UPON APPROVAL

BY THE BANKRUPTCY COURT OF THIS STIPULATION, IT IS SO ORDERED as follows:

        1.      The above recitals are incorporated by reference into this Stipulation with the same

force and effect as if fully set forth hereinafter.

        2.      The automatic stay imposed by section 362 of the Bankruptcy Code is hereby

modified solely for the purpose of permitting PACCAR, its agents or assigns to retrieve and take

possession of the Equipment from the Debtors’ owned premises, any other location leased by the

Debtors, or any other location where the Equipment may be located, to dispose of the Equipment,

and, to the extent required by the Lease Agreement or applicable law, to apply the proceeds of said

disposition to Debtors’ indebtedness under the Lease Agreement, all without further notice or order

of the Court. Nothing herein shall be construed to require PACCAR to take possession of any

Equipment which, in its discretion, PACCAR deems to be damaged, destroyed or otherwise

inoperable. If PACCAR exercises its discretion not to take possession of any such Equipment it

deems to be damaged, destroyed or otherwise inoperable, PACCAR will release the title

certificate(s) to said Equipment to the Debtors.

        3.      Each of the Parties shall use commercially reasonable efforts to cooperate and

coordinate with respect to the logistics of PACCAR’s retrieval and repossession of the Equipment.

        4.      To the extent necessary, the Master Lease and Lease Schedules are hereby deemed

to be rejected as of the date of entry of an Order of the Court approving this Stipulation, and

PACCAR consents to such rejection. Any PACCAR claim for rejection damages shall constitute

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a prepetition general unsecured claim in the Debtors’ chapter 11 cases and PACCAR shall be

required to file a proof of claim by the date set forth in an applicable order of the Court setting a

bar date for the filing of proofs of claim or as otherwise set forth in a confirmed chapter 11 plan.

       5.      Each of the Parties to this Stipulation represents and warrants it is duly authorized

to enter into and be bound by this Stipulation.

       6.      PACCAR may incur costs, fees (including attorneys’ fees), expenses, or charges

associated with taking possession of the Equipment or otherwise entering into and performing

under this Stipulation, including but not limited to towing, storage, repairs, or disposal costs, and

PACCAR agrees it shall not seek to recover any such fees and/or costs from the Debtors or their

estates as an administrative claim. Nothing herein shall be construed as a waiver or limitation of

(a) PACCAR’s rights to seek recovery or reimbursement of any such fees and costs, including

without limitation as a component of any general unsecured rejection damages proof(s) of claim,

or (b) any party in interest’s right to object to any rejection damages claim asserted by PACCAR.

       7.      Neither this Stipulation, nor any terms contained herein shall be offered in evidence

in any legal proceeding or administrative proceeding among or between the Parties, other than as

may be necessary: (a) to obtain approval of and/or to enforce this Stipulation, (b) to seek damages

or injunctive relief in connection therewith, or (c) to prove that the automatic stay has been

modified in accordance with the terms of this Stipulation.

       8.      This Stipulation is subject to the approval of the Court and shall be effective upon

entry of a Court order approving this Stipulation (the “Order”). The Parties hereby consent to the

entry of the Order and waive any right to notice or hearing on the approval of the Stipulation.

       9.      The Court retains exclusive jurisdiction with respect to any disputes arising from

or other actions to interpret, administer, or enforce the terms and provisions of this Stipulation.



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STIPULATED AND AGREED TO THIS 3rd DAY OF OCTOBER 2023:

Dated: October 3, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)        Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)        David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)           Whitney Fogelberg (admitted pro hac vice)
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                                           Allyson B. Smith (admitted pro hac vice)
                                           KIRKLAND & ELLIS LLP
                                           KIRKLAND & ELLIS INTERNATIONAL LLP
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                                           Co-Counsel for the Debtors and Debtors in
                                           Possession
/s/ Michael D. DeBaecke
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Counsel to PACCAR Financial Corp.
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                     SCHEDULE A

               Master Lease and Equipment
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Yellow Corporation                                                                                                        DRAFT - SUBJECT TO MATERIAL REVISION
PACCAR Financial - Leased Vehicle Locations


Number     VIN Number                   Lease Acct      Terminal   Location                                                     Additional Notes
    1      1XPBAK9X0LD656180                     2259     386      6161 South 6th Street , Milwaukee , 53211
    2      1XPBAK9X2LD656214                      854     419      24 Gateway Commerce Center Dr , Edwardsville , 62025
    3      1XPBAK9X0LD656213                      854     366      5409 N National Drive , Knoxville , 37914
    4      1XPBAK9X5LD656210                      854     263      11740 Dixie Highway , Birch Run , 48415
    5      1XPBAK9X5LD656191                      854     671      1255 NC Highway 66 S , Kernersville , 27284
    6      1XPBAK9X7LD656189                      854     311      5550 W Cleveland Road Ext , South Bend , 46628
    7      1XPBAK9X1LD656186                      854     634      6650 Transit Road , Williamsville , 14221
    8      1XPBAK9XXLD656185                      854     424      11220 Xeon Street NW , Coon Rapids , 55448
    9      1XPBAK9X2LD656181                      854      n/a     Third Party - to be confirmed
   10      1XPBAK9X2LD656231                     3353     332      10720 Memphis Avenue , Brooklyn , 44144
   11      1XPBAK9X0LD656230                     3353      n/a     Third Party - to be confirmed
   12      1XPBAK9X4LD656229                     3353     357      2530 S Tibbs Avenue , Indianapolis , 46241
   13      1XPBAK9X2LD656228                     3353     358      1059 Hurst Road , Jackson , 49201
   14      1XPBAK9X0LD656227                     3353     357      2530 S Tibbs Avenue , Indianapolis , 46241
   15      1XPBAK9XXLD656221                     3353     358      1059 Hurst Road , Jackson , 49201
   16      1XPBAK9X1LD656219                     3353     345      830 Highway AA , Miner , 63801
   17      1XPBAK9X4LD656215                     3353     360      3801 Mound Road , Joliet, IL 60436
   18      1XPBAK9X7LD656208                     3353     358      1059 Hurst Road , Jackson , 49201
   19      1XPBAK9X5LD656207                     3353     433      345 Roadway Drive , Ringgold , 30736
   20      1XPBAK9X3LD656206                     3353     311      5550 W Cleveland Road Ext , South Bend , 46628
   21      1XPBAK9XXLD656199                     3353     371      3700 78th Avenue West , Rock Island , 61201
   22      1XPBAK9X2LD656195                     3353     428      501 Spring Road , Mosinee , 54455
   23      1XPBAK9X0LD656194                     3353     322      8901 N Kentucky Avenue , Evansville , 47711
   24      1XPBAK9X7LD656192                     3353     320      8601 W 53rd Street , McCook , 60525
   25      1XPBAK9X3LD656190                     3353     436      10855 Market Street , N Lima , 44452
   26      1XPBAK9X5LD656188                     3353     319      1751 New Milford School Road , Rockford , 61109
   27      1XPBAK9X3LD656187                     3353      n/a     Third Party - to be confirmed
   28      1XPBAK9X8LD656184                     3353     357      2530 S Tibbs Avenue , Indianapolis , 46241                   Accident - legal hold 1
   29      1XPBAK9X4LD656182                     3353     331      10074 Princeton , Glendale Road , Cincinnati , 45246
   30      1XPBAK9XXLD656235                     8048     360      3801 Mound Road , Joliet, IL 60436
   31      1XPBAK9X8LD656234                     8048     290      95 Holland Drive , Gallipolus , 45631
   32      1XPBAK9X6LD656233                     8048     357      2530 S Tibbs Avenue , Indianapolis , 46241
   33      1XPBAK9X8LD656220                     8048     319      1751 New Milford School Road , Rockford , 61109
   34      1XPBAK9X2LD656200                     8048     323      1100 Chaddick Drive , Wheeling , 60090
   35      1XPBAK9X8LD656198                     8048     350      10151 S Division Ave , Wayland , 49348
   36      1XPBAK9X6LD656216                     8048     360      3801 Mound Road , Joliet, IL 60436                           Accident - legal hold 2
   37      1XPBAK9X9LD656209                     8048     244      4885 Keystone Boulevard , Jeffersonville , 47130
   38      1XPBAK9X6LD656197                     8048     425      20820 Midstar Drive , Bowling Green , 43402
   39      1XPBAK9X4LD656196                     8048     350      10151 S Division Ave , Wayland , 49348
   40      1XPBAK9X9LD656193                     8048     386      6161 South 6th Street , Milwaukee , 53211
   41      1XPBAK9X6LD656183                     8048      n/a     Third Party - to be confirmed
   42      1XPBAK9X6LD656202                     9897     350      10151 S Division Ave , Wayland , 49348
   43      1XPBAK9X4LD656201                     9897      n/a     Third Party - to be confirmed
   44      1XPBAK9X8LD656279                     3147     331      10074 Princeton , Glendale Road , Cincinnati , 45246
   45      1XPBAK9X1LD656253                     3147     350      10151 S Division Ave , Wayland , 49348
   46      1XPBAK9X0LD656244                     3147     357      2530 S Tibbs Avenue , Indianapolis , 46241
   47      1XPBAK9X9LD656243                     3147     396      400 Holland Street , Tomah , 54660
   48      1XPBAK9X3LD656237                     3147     360      3801 Mound Road , Joliet, IL 60436
   49      1XPBAK9X1LD656236                     3147      n/a     Third Party - to be confirmed
   50      1XPBAK9X9LD656226                     3147     311      5550 W Cleveland Road Ext , South Bend , 46628
   51      1XPBAK9X7LD656225                     3147     311      5550 W Cleveland Road Ext , South Bend , 46628
   52      1XPBAK9X5LD656224                     3147     320      8601 W 53rd Street , McCook , 60525
   53      1XPBAK9X3LD656223                     3147     424      11220 Xeon Street NW , Coon Rapids , 55448
   54      1XPBAK9X1LD656222                     3147     320      8601 W 53rd Street , McCook , 60525
   55      1XPBAK9X9LD656212                     3147     419      24 Gateway Commerce Center Dr , Edwardsville , 62025         Accident - legal hold 3
   56      1XPBAK9X7LD656211                     3147     331      10074 Princeton , Glendale Road , Cincinnati , 45246
   57      1XPBAK9X1LD656205                     3147     320      8601 W 53rd Street , McCook , 60525
   58      1XPBAK9XXLD656204                     3147     360      3801 Mound Road , Joliet, IL 60436
   59      1XPBAK9X8LD656203                     3147     682      580 Shackelford Road , Piedmont, SC 29673
   60      1XPBAK9X2LD656245                     4723     358      1059 Hurst Road , Jackson , 49201
   61      1XPBAK9X7LD656242                     4723     358      1059 Hurst Road , Jackson , 49201
   62      1XPBAK9X5LD656241                     4723     368      700 NE Arch Street , Atlanta , 61723
   63      1XPBAK9X3LD656240                     4723     425      20820 Midstar Drive , Bowling Green , 43402
   64      1XPBAK9X7LD656239                     4723     244      4885 Keystone Boulevard , Jeffersonville , 47130
   65      1XPBAK9X5LD656238                     4723     330      4800 Journal Street , Columbus , 43228
   66      1XPBAK9XXLD656218                     4723     360      3801 Mound Road , Joliet, IL 60436
   67      1XPBAK9X8LD656217                     4723     548      2600 Powell Road , Baxter Springs , 66713
   68      1XPBAK9XXLD656252                     7676     350      10151 S Division Ave , Wayland , 49348
   69      1XPBAK9X8LD656251                     7676     360      3801 Mound Road , Joliet, IL 60436
   70      1XPBAK9X6LD656250                     7676     366      5409 N National Drive , Knoxville , 37914
   71      1XPBAK9XXLD656249                     7676     360      3801 Mound Road , Joliet, IL 60436
   72      1XPBAK9X8LD656248                     7676     421      3518 Industrial Pkwy , Birmingham , 35217
   73      1XPBAK9X6LD656247                     7676      n/a     Third Party - to be confirmed
   74      1XPBAK9X4LD656246                     7676     357      2530 S Tibbs Avenue , Indianapolis , 46241
   75      1XPBAK9X2LD656259                     3401     350      10151 S Division Ave , Wayland , 49348
   76      1XPBAK9X0LD656258                     3401     357      2530 S Tibbs Avenue , Indianapolis , 46241
   77      1XPBAK9X9LD656257                     3401     360      3801 Mound Road , Joliet, IL 60436
   78      1XPBAK9X7LD656256                     3401     350      10151 S Division Ave , Wayland , 49348
   79      1XPBAK9X5LD656255                     3401     409      1901 Highway 20 West , Decatur , 35601
   80      1XPBAK9X3LD656254                     3401     350      10151 S Division Ave , Wayland , 49348
   81      1XPBAK9X1LD656270                     7097     323      1100 Chaddick Drive , Wheeling , 60090
   82      1XPBAK9X5LD656269                     7097     357      2530 S Tibbs Avenue , Indianapolis , 46241


                                                             PACCAR Financial Corp - Collateral List
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Yellow Corporation                                                                                                        DRAFT - SUBJECT TO MATERIAL REVISION
PACCAR Financial - Leased Vehicle Locations


Number     VIN Number                   Lease Acct      Terminal   Location                                                     Additional Notes
   83      1XPBAK9X3LD656268                     7097     262      27411 Wick Road , Romulus , 48174
   84      1XPBAK9X1LD656267                     7097     364      9711 State Avenue , Kansas City , 66111
   85      1XPBAK9XXLD656266                     7097     262      27411 Wick Road , Romulus , 48174
   86      1XPBAK9X8LD656265                     7097     366      5409 N National Drive , Knoxville , 37914
   87      1XPBAK9X6LD656264                     7097     262      27411 Wick Road , Romulus , 48174
   88      1XPBAK9X4LD656263                     7097     262      27411 Wick Road , Romulus , 48174
   89      1XPBAK9X2LD656262                     7097     357      2530 S Tibbs Avenue , Indianapolis , 46241                   Accident - legal hold 4
   90      1XPBAK9X0LD656261                     7097     339      2700 Valley Pike , Dayton , 45404
   91      1XPBAK9X5LD656272                     7295     622      1305 Kirkland Road , Raleigh , 27603
   92      1XPBAK9X3LD656271                     7295      n/a     Third Party - 1120 W Mallory Ave Milwaukee, WI               Coon's Truck and Trailer
   93      1XPBAK9X9LD656260                     7295     332      10720 Memphis Avenue , Brooklyn , 44144
   94      1XPBAK9X9LD656291                     9895      n/a     Third Party - to be confirmed
   95      1XPBAK9X0LD656289                     9895     421      3518 Industrial Pkwy , Birmingham , 35217
   96      1XPBAK9X9LD656288                     9895     366      5409 N National Drive , Knoxville , 37914
   97      1XPBAK9X7LD656287                     9895     328      3705 Highway 321 , West Columbia , 29172
   98      1XPBAK9X5LD656286                     9895     208      3140 Massillon Road , Akron , 44312
   99      1XPBAK9X3LD656285                     9895     368      700 NE Arch Street , Atlanta , 61723
  100      1XPBAK9X1LD656284                     9895     208      3140 Massillon Road , Akron , 44312
  101      1XPBAK9XXLD656283                     9895      n/a     Third Party - to be confirmed
  102      1XPBAK9X8LD656282                     9895      n/a     Third Party - to be confirmed
  103      1XPBAK9X6LD656281                     9895     208      3140 Massillon Road , Akron , 44312
  104      1XPBAK9X4LD656280                     9895     263      11740 Dixie Highway , Birch Run , 48415
  105      1XPBAK9X6LD656278                     9895     263      11740 Dixie Highway , Birch Run , 48415
  106      1XPBAK9X4LD656277                     9895      n/a     Third Party - to be confirmed
  107      1XPBAK9X2LD656276                     9895     385      8100 W Sandidge Road , Olive Branch , 38654
  108      1XPBAK9X0LD656275                     9895     357      2530 S Tibbs Avenue , Indianapolis , 46241
  109      1XPBAK9X9LD656274                     9895     357      2530 S Tibbs Avenue , Indianapolis , 46241
  110      1XPBAK9X7LD656273                     9895      n/a     Third Party - 1120 W Mallory Ave Milwaukee, WI               Coon's Truck and Trailer
  111      1XPBAK9X8LD656301                     1354     397      3219 Nebraska Avenue , Council Bluffs , 51501
  112      1XPBAK9X6LD656300                     1354     339      2700 Valley Pike , Dayton , 45404
  113      1XPBAK9X3LD656299                     1354     358      1059 Hurst Road , Jackson , 49201
  114      1XPBAK9X1LD656298                     1354     424      11220 Xeon Street NW , Coon Rapids , 55448
  115      1XPBAK9XXLD656297                     1354     311      5550 W Cleveland Road Ext , South Bend , 46628
  116      1XPBAK9X6LD656295                     1354     332      10720 Memphis Avenue , Brooklyn , 44144
  117      1XPBAK9X2LD656293                     1354     331      10074 Princeton , Glendale Road , Cincinnati , 45246
  118      1XPBAK9X0LD656292                     1354     331      10074 Princeton , Glendale Road , Cincinnati , 45246
  119      1XPBAK9X0LD656308                     4457     311      5550 W Cleveland Road Ext , South Bend , 46628
  120      1XPBAK9X9LD656307                     4457     339      2700 Valley Pike , Dayton , 45404
  121      1XPBAK9XXLD656302                     4457      n/a     Third Party - to be confirmed
  122      1XPBAK9X8LD656296                     4457     332      10720 Memphis Avenue , Brooklyn , 44144
  123      1XPBAK9X4LD656294                     4457     332      10720 Memphis Avenue , Brooklyn , 44144
  124      1XPBAK9X7LD656290                     4457     421      3518 Industrial Pkwy , Birmingham , 35217
  125      1XPBAK9X8LD656329                     7419     331      10074 Princeton , Glendale Road , Cincinnati , 45246
  126      1XPBAK9X6LD656328                     7419     357      2530 S Tibbs Avenue , Indianapolis , 46241
  127      1XPBAK9X1LD656317                     7419     360      3801 Mound Road , Joliet, IL 60436                           Accident - legal hold 5
  128      1XPBAK9XXLD656316                     7419     245      460 Transport Court , Lexington , 40511
  129      1XPBAK9X8LD656315                     7419     323      1100 Chaddick Drive , Wheeling , 60090
  130      1XPBAK9X6LD656314                     7419     358      1059 Hurst Road , Jackson , 49201
  131      1XPBAK9X4LD656313                     7419     368      700 NE Arch Street , Atlanta , 61723
  132      1XPBAK9X2LD656312                     7419      n/a     Third Party - to be confirmed
  133      1XPBAK9X0LD656311                     7419     329      5201 Sunset Road , Charlotte , 28213
  134      1XPBAK9X9LD656310                     7419     357      2530 S Tibbs Avenue , Indianapolis , 46241
  135      1XPBAK9X2LD656309                     7419     339      2700 Valley Pike , Dayton , 45404
  136      1XPBAK9X7LD656306                     7419     360      3801 Mound Road , Joliet, IL 60436                           Accident - legal hold 6
  137      1XPBAK9X5LD656305                     7419     332      10720 Memphis Avenue , Brooklyn , 44144
  138      1XPBAK9X3LD656304                     7419      n/a     Third Party - to be confirmed
  139      1XPBAK9X1LD656303                     7419     332      10720 Memphis Avenue , Brooklyn , 44144
  140      1XPBAK9X7LD656368                      470     262      27411 Wick Road , Romulus , 48174
  141      1XPBAK9X5LD656367                      470     244      4885 Keystone Boulevard , Jeffersonville , 47130
  142      1XPBAK9X4LD656327                      470     357      2530 S Tibbs Avenue , Indianapolis , 46241
  143      1XPBAK9X2LD656326                      470     329      5201 Sunset Road , Charlotte , 28213
  144      1XPBAK9X0LD656325                      470     385      8100 W Sandidge Road , Olive Branch , 38654
  145      1XPBAK9X7LD656323                      470     329      5201 Sunset Road , Charlotte , 28213
  146      1XPBAK9X5LD656322                      470     329      5201 Sunset Road , Charlotte , 28213
  147      1XPBAK9X3LD656321                      470      n/a     Third Party - 1120 W Mallory Ave Milwaukee, WI               Coon's Truck and Trailer
  148      1XPBAK9X1LD656320                      470     364      9711 State Avenue , Kansas City , 66111
  149      1XPBAK9X5LD656319                     5610     329      5201 Sunset Road , Charlotte , 28213
  150      1XPBAK9X3LD656366                     5610     366      5409 N National Drive , Knoxville , 37914
  151      1XPBAK9X8LD656363                     5610     366      5409 N National Drive , Knoxville , 37914
  152      1XPBAK9X4LD656344                     5610     330      4800 Journal Street , Columbus , 43228
  153      1XPBAK9X2LD656343                     5610     339      2700 Valley Pike , Dayton , 45404
  154      1XPBAK9X0LD656342                     5610     419      24 Gateway Commerce Center Dr , Edwardsville , 62025
  155      1XPBAK9X9LD656341                     5610     319      1751 New Milford School Road , Rockford , 61109
  156      1XPBAK9X1LD656379                     8820     424      11220 Xeon Street NW , Coon Rapids , 55448
  157      1XPBAK9X8LD656377                     8820     366      5409 N National Drive , Knoxville , 37914
  158      1XPBAK9X4LD656375                     8820     245      460 Transport Court , Lexington , 40511
  159      1XPBAK9X2LD656374                     8820     409      1901 Highway 20 West , Decatur , 35601
  160      1XPBAK9X0LD656373                     8820     357      2530 S Tibbs Avenue , Indianapolis , 46241
  161      1XPBAK9X9LD656372                     8820     682      580 Shackelford Road , Piedmont, SC 29673
  162      1XPBAK9X1LD656365                     8820      n/a     Third Party - to be confirmed
  163      1XPBAK9XXLD656364                     8820      n/a     Third Party - to be confirmed
  164      1XPBAK9X6LD656362                     8820     332      10720 Memphis Avenue , Brooklyn , 44144



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Yellow Corporation                                                                                                        DRAFT - SUBJECT TO MATERIAL REVISION
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Number     VIN Number                   Lease Acct      Terminal   Location                                                     Additional Notes
  165      1XPBAK9X4LD656361                     8820     332      10720 Memphis Avenue , Brooklyn , 44144
  166      1XPBAK9X2LD656360                     8820     330      4800 Journal Street , Columbus , 43228
  167      1XPBAK9X3LD656335                     8820     332      10720 Memphis Avenue , Brooklyn , 44144
  168      1XPBAK9XXLD656333                     8820     350      10151 S Division Ave , Wayland , 49348
  169      1XPBAK9X8LD656332                     8820     350      10151 S Division Ave , Wayland , 49348
  170      1XPBAK9X6LD656331                     8820     262      27411 Wick Road , Romulus , 48174
  171      1XPBAK9X4LD656330                     8820     425      20820 Midstar Drive , Bowling Green , 43402
  172      1XPBAK9X9LD656324                     8820     345      830 Highway AA , Miner , 63801
  173      1XPBAK9X3LD656318                     8820     360      3801 Mound Road , Joliet, IL 60436
  174      1XPBAK9X7LD656371                     3275     331      10074 Princeton , Glendale Road , Cincinnati , 45246
  175      1XPBAK9X9LD656369                     3275     339      2700 Valley Pike , Dayton , 45404
  176      1XPBAK9X4LD656358                     3275     339      2700 Valley Pike , Dayton , 45404
  177      1XPBAK9X5LD656353                     3275     357      2530 S Tibbs Avenue , Indianapolis , 46241
  178      1XPBAK9X3LD656352                     3275     322      8901 N Kentucky Avenue , Evansville , 47711
  179      1XPBAK9X1LD656351                     3275     331      10074 Princeton , Glendale Road , Cincinnati , 45246
  180      1XPBAK9X7LD656340                     3275     331      10074 Princeton , Glendale Road , Cincinnati , 45246
  181      1XPBAK9X0LD656339                     3275     386      6161 South 6th Street , Milwaukee , 53211
  182      1XPBAK9X9LD656338                     3275     403      4700 Highway 42 , Ellenwood , 30294
  183      1XPBAK9X7LD656337                     3275      n/a     Third Party - to be confirmed
  184      1XPBAK9X5LD656336                     3275     433      345 Roadway Drive , Ringgold , 30736
  185      1XPBAK9X1LD656334                     3275     357      2530 S Tibbs Avenue , Indianapolis , 46241
  186      1XPBAK9X1LD677426                     3929     364      9711 State Avenue , Kansas City , 66111
  187      1XPBAK9XXLD677425                     3929     403      4700 Highway 42 , Ellenwood , 30294
  188      1XPBAK9X8LD677424                     3929     421      3518 Industrial Pkwy , Birmingham , 35217
  189      1XPBAK9X6LD677423                     3929     395      500 Oak Bluff Lane , Goodlettsville , 37072
  190      1XPBAK9X4LD677419                     3929     395      500 Oak Bluff Lane , Goodlettsville , 37072
  191      1XPBAK9X0LD677417                     3929     330      4800 Journal Street , Columbus , 43228
  192      1XPBAK9XXLD656378                     3929     208      3140 Massillon Road , Akron , 44312
  193      1XPBAK9X2LD656357                     3929     419      24 Gateway Commerce Center Dr , Edwardsville , 62025
  194      1XPBAK9X7LD656354                     3929      n/a     Third Party - 1120 W Mallory Ave Milwaukee, WI               Coon's Truck and Trailer
  195      1XPBAK9X1LD656348                     3929     337      72 Eastgate Drive , Danville , 61832
  196      1XPBAK9XXLD656347                     3929     357      2530 S Tibbs Avenue , Indianapolis , 46241
  197      1XPBAK9X8LD656346                     3929      n/a     Third Party - to be confirmed
  198      1XPBAK9XXLD691566                     5429     371      3700 78th Avenue West , Rock Island , 61201
  199      1XPBAK9X8LD691565                     5429     360      3801 Mound Road , Joliet, IL 60436
  200      1XPBAK9X6LD691564                     5429     320      8601 W 53rd Street , McCook , 60525
  201      1XPBAK9X4LD691563                     5429      n/a     Third Party - to be confirmed
  202      1XPBAK9X2LD691562                     5429      n/a     Third Party - to be confirmed
  203      1XPBAK9X0LD691561                     5429      n/a     Third Party - to be confirmed
  204      1XPBAK9X9LD691560                     5429     350      10151 S Division Ave , Wayland , 49348
  205      1XPBAK9X3LD677427                     5429     416      5575 E State Hwy 00 , Strafford , 65757
  206      1XPBAK9X4LD677422                     5429     436      10855 Market Street , N Lima , 44452
  207      1XPBAK9X0LD677420                     5429      n/a     Third Party - 1120 W Mallory Ave Milwaukee, WI               Coon's Truck and Trailer
  208      1XPBAK9X2LD677418                     5429      n/a     Third Party - to be confirmed
  209      1XPBAK9X9LD677416                     5429      n/a     Third Party - to be confirmed
  210      1XPBAK9X6LD656376                     5429     330      4800 Journal Street , Columbus , 43228
  211      1XPBAK9X5LD656370                     5429     345      830 Highway AA , Miner , 63801
  212      1XPBAK9X6LD656359                     5429      n/a     Third Party - to be confirmed
  213      1XPBAK9X0LD656356                     5429     322      8901 N Kentucky Avenue , Evansville , 47711
  214      1XPBAK9X9LD656355                     5429     323      1100 Chaddick Drive , Wheeling , 60090
  215      1XPBAK9XXLD656350                     5429     332      10720 Memphis Avenue , Brooklyn , 44144
  216      1XPBAK9X3LD656349                     5429     350      10151 S Division Ave , Wayland , 49348
  217      1XPBDK9X6LD691569                     7805     371      3700 78th Avenue West , Rock Island , 61201
  218      1XPBAK9X3LD691568                     7805     360      3801 Mound Road , Joliet, IL 60436
  219      1XPBAK9X1LD691567                     7805     360      3801 Mound Road , Joliet, IL 60436
  220      1XPBAK9X2LD691559                     7805     671      1255 NC Highway 66 S , Kernersville , 27284
  221      1XPBAK9X0LD691558                     7805     425      20820 Midstar Drive , Bowling Green , 43402
  222      1XPBAK9X9LD691557                     7805     425      20820 Midstar Drive , Bowling Green , 43402
  223      1XPBAK9X7LD691556                     7805     682      580 Shackelford Road , Piedmont, SC 29673
  224      1XPBAK9X5LD691555                     7805     682      580 Shackelford Road , Piedmont, SC 29673
  225      1XPBAK9X3LD691554                     7805     419      24 Gateway Commerce Center Dr , Edwardsville , 62025
  226      1XPBAK9X1LD691553                     7805      n/a     Third Party - to be confirmed
  227      1XPBAK9XXLD691552                     7805     357      2530 S Tibbs Avenue , Indianapolis , 46241
  228      1XPBAK9X8LD691551                     7805     350      10151 S Division Ave , Wayland , 49348
  229      1XPBAK9X6LD691550                     7805     357      2530 S Tibbs Avenue , Indianapolis , 46241
  230      1XPBAK9X2LD677435                     7805      n/a     Third Party - to be confirmed
  231      1XPBAK9X0LD677434                     7805     331      10074 Princeton , Glendale Road , Cincinnati , 45246
  232      1XPBAK9X9LD677433                     7805     290      95 Holland Drive , Gallipolus , 45631
  233      1XPBAK9X7LD677432                     7805     322      8901 N Kentucky Avenue , Evansville , 47711
  234      1XPBAK9X5LD677431                     7805     345      830 Highway AA , Miner , 63801
  235      1XPBAK9X3LD677430                     7805     350      10151 S Division Ave , Wayland , 49348
  236      1XPBAK9X7LD677429                     7805     386      6161 South 6th Street , Milwaukee , 53211
  237      1XPBAK9X5LD677428                     7805      n/a     Third Party - to be confirmed
  238      1XPBAK9X2LD677421                     7805     395      500 Oak Bluff Lane , Goodlettsville , 37072
  239      1XPBAK8X8LD661029                      946     124      15 Thomas J. Rhodes Industrial , Mercerville , 8619
  240      1XPBAK8XXLD661033                     4673      n/a     Third Party - to be confirmed
  241      1XPBAK8X8LD661032                     4673     113      6351 S Hanover Road , Elkridge , 21075 , 9998
  242      1XPBAK8X6LD661031                     4673     124      15 Thomas J. Rhodes Industrial , Mercerville , 8619
  243      1XPBAK8X5LD661036                     4673     113      6351 S Hanover Road , Elkridge , 21075 , 9998
  244      1XPBAK8X1LD661034                     4673     118      7173 Schuyler Road , East Syracuse , 13057
  245      1XPBAK8X9LD661041                     7841     124      15 Thomas J. Rhodes Industrial , Mercerville , 8619
  246      1XPBAK8X9LD661038                     7841     102      3725 Pottsville Pike , Reading , 19605


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Yellow Corporation                                                                                                         DRAFT - SUBJECT TO MATERIAL REVISION
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Number     VIN Number                   Lease Acct      Terminal   Location                                                      Additional Notes
  247      1XPBAK8X7LD661040                     7841     103      475 Terminal Road , Camp Hill , 17011
  248      1XPBAK8X4LD661030                     7841     133      241B Bliss Street , West Springfield , 1089
  249      1XPBAK8X3LD661035                     7841     105      2110 Plainfield Pike , Cranston , 2910
  250      1XPBAK8X0LD661039                     7841     130      6640 Transit Road , Williamsville , 14221
  251      1XPBAK8X7LD661037                     9789     130      6640 Transit Road , Williamsville , 14221
  252      1XPBAK8X2LD661043                     9789     130      6640 Transit Road , Williamsville , 14221
  253      1XPBAK8X0LD661042                     9789     124      15 Thomas J. Rhodes Industrial , Mercerville , 8619
  254      2NP2HM7X9LM674563                     4837     107      58 , 60 Page Place , Maspeth , 11378 , 2250
  255      2NP2HM7X0LM674564                     4837     107      58 , 60 Page Place , Maspeth , 11378 , 2250
  256      2NP2HM7X5LM674558                     7970     105      2110 Plainfield Pike , Cranston , 2910
  257      2NP2HM7X3LM674557                     7970     105      2110 Plainfield Pike , Cranston , 2910
  258      2NP2HM7X5LM674561                     7988     106      72 Second Street , Kearny , 7032
  259      2NP2HM7X6LM674553                     8028     107      58 , 60 Page Place , Maspeth , 11378 , 2250
  260      2NP2HM7X4LM674566                     8028     107      58 , 60 Page Place , Maspeth , 11378 , 2250
  261      2NP2HM7XXLM674555                     3838     107      58 , 60 Page Place , Maspeth , 11378 , 2250
  262      2NP2HM7X8LM674554                     3838     107      58 , 60 Page Place , Maspeth , 11378 , 2250
  263      2NP2HM7X7LM674562                     3861     106      72 Second Street , Kearny , 7032
  264      2NP2HM7X6LM674567                     3903     128      2950 Grand Avenue , Neville Island , 15225
  265      2NP2HM7X3LM674560                     4067     105      2110 Plainfield Pike , Cranston , 2910
  266      2NP2HM7X8LM674568                     4091     114      2300 Garry Road , Cinnaminson , 8077
  267      2NP2HM7X1LM674556                     1302     105      2110 Plainfield Pike , Cranston , 2910
  268      2NP2HM7X7LM674559                     1351     109      28 Sterling Road , Billerica , 1821
  269      2NP2HM7X4LM674552                     1377     187      1313 Grand Street , Brooklyn , 11211
  270      2NP2HM7X2LM674565                     1377     107      58 , 60 Page Place , Maspeth , 11378 , 2250
  271      1XPBA48X9LD658572                     3650     815      1405 N Olive Avenue , Meridian , 83642
  272      1XPBA48X5LD658584                     9145     915      3901 E Broadway , Spokane , 99202
  273      1XPBA48XXLD658578                     9145     501      10510 N Vancouver Way , Portland , 97217
  274      1XPBD49X5LD658686                     9160     527      4375 W 1385 S , Salt Lake City , 84104
  275      1XPBD49X3LD658685                     9160     527      4375 W 1385 S , Salt Lake City , 84104
  276      1XPBD49XXLD658683                      424     815      1405 N Olive Avenue , Meridian , 83642
  277      1XPBD49X6LD658681                      424     527      4375 W 1385 S , Salt Lake City , 84104
  278      1XPBD49X4LD658680                      424     527      4375 W 1385 S , Salt Lake City , 84104
  279      1XPBD49X6LD658678                      424     589      9900 E 102nd Avenue , Henderson , 80640
  280      1XPBD49X1LD658684                     2578     527      4375 W 1385 S , Salt Lake City , 84104
  281      1XPBD49X8LD658682                     2578     589      9900 E 102nd Avenue , Henderson , 80640
  282      1XPBD49X8LD658679                     2578     878      5049 W Post Road , Las Vegas , 89118
  283      1XPBA48X2LD658588                     4590     868      4905 N Railroad Avenue , Pasco , 99301
  284      1XPBA48X3LD658583                     4590     866      1619 North Plaza Drive , Visalia , 93291
  285      1XPBA48X1LD658582                     4590     915      3901 E Broadway , Spokane , 99202
  286      1XPBA48X8LD658580                     4590     575      2200 N Batavia Street , Orange , 92865
  287      1XPBA48X8LD658577                     4590     915      3901 E Broadway , Spokane , 99202
  288      1XPBA48X6LD658576                     4590     878      5049 W Post Road , Las Vegas , 89118
  289      1XPBA48X2LD658574                     4590     878      5049 W Post Road , Las Vegas , 89118
  290      1XPBA48X3LD658602                     7601     849      4000 Hamrick Road , Central Point , 97502
  291      1XPBA48X1LD658601                     7601     849      4000 Hamrick Road , Central Point , 97502
  292      1XPBA48XXLD658600                     7601     878      5049 W Post Road , Las Vegas , 89118
  293      1XPBA48X7LD658599                     7601     849      4000 Hamrick Road , Central Point , 97502
  294      1XPBA48X5LD658598                     7601     519      4556 S Chestnut Avenue , Fresno , 93725
  295      1XPBA48X3LD658597                     7601     517      11937 Regentview Avenue , Downey , 90241
  296      1XPBA48X1LD658596                     7601     517      11937 Regentview Avenue , Downey , 90241
  297      1XPBA48XXLD658595                     7601     527      4375 W 1385 S , Salt Lake City , 84104
  298      1XPBA48X8LD658594                     7601     829      10661 Etiwanda Avenue , Fontana , 92337
  299      1XPBA48X4LD658592                     7601     915      3901 E Broadway , Spokane , 99202
  300      1XPBA48X2LD658591                     7601     519      4556 S Chestnut Avenue , Fresno , 93725
  301      1XPBA48X4LD658589                     7601     849      4000 Hamrick Road , Central Point , 97502
  302      1XPBA48X9LD658586                     7601     849      4000 Hamrick Road , Central Point , 97502
  303      1XPBA48X7LD658585                     7601     519      4556 S Chestnut Avenue , Fresno , 93725
  304      1XPBA48X2LD658607                     3518     783      9933 Beverly Boulevard , Pico Rivera , 90660
  305      1XPBA48X0LD658606                     3518     829      10661 Etiwanda Avenue , Fontana , 92337
  306      1XPBA48X9LD658605                     3518     830      18298 Slover Avenue , Bloomington , 92316
  307      1XPBA48X7LD658604                     3518     847      15400 S Main Street , Gardena , 90248
  308      1XPBA48X5LD658603                     3518     524      9501 24th Pl West , Everett , 98204
  309      1XPBA48X6LD658612                     1586     813      1535 E Pescadero Avenue , Tracy , 95304
  310      1XPBA48X2LD658610                     1586     519      4556 S Chestnut Avenue , Fresno , 93725
  311      1XPBA48X6LD658609                     1586     813      1535 E Pescadero Avenue , Tracy , 95304
  312      1XPBA48X5LD658617                     5793     633      7180 Kestrel Drive , Missoula , 59808
  313      1XPBA48X3LD658616                     5793     512      2065B Alexander Avenue , Anderson , 96007
  314      1XPBA48X1LD658615                     5793     829      10661 Etiwanda Avenue , Fontana , 92337
  315      1XPBA48XXLD658614                     5793     915      3901 E Broadway , Spokane , 99202
  316      1XPBA48X8LD658613                     5793     829      10661 Etiwanda Avenue , Fontana , 92337
  317      1XPBA48X4LD658611                     5793     630      14299 W US Hwy 30 , Pocatello , 83206
  318      1XPBA48X4LD658608                     5793     501      10510 N Vancouver Way , Portland , 97217
  319      1XPBA48X7LD658621                      553     813      1535 E Pescadero Avenue , Tracy , 95304                       Accident - legal hold 7
  320      1XPBA48X5LD658620                      553     878      5049 W Post Road , Las Vegas , 89118
  321      1XPBA48X9LD658619                      553     836      1419 Jefferson Avenue , LaGrande , 97830
  322      1XPBA48X7LD658618                      553     849      4000 Hamrick Road , Central Point , 97502




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